Case 1:23-cr-00061-MN          Document 274         Filed 12/02/24      Page 1 of 9 PageID #: 5217




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA                           )
                                                    )
        v.                                          )      Criminal Action No. 1:23-cr-61-MN
                                                    )
 ROBERT HUNTER BIDEN,                               )
                                                    )
                                Defendant.          )

                 RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
                           TO DISMISS THE INDICTMENT

        The United States, by and through undersigned counsel, respectfully submits this Response

 in opposition to defendant’s motion to dismiss the indictment (D.I. 272), which he titled “Mr.

 Biden’s Notice of Pardon,” and in response to the Court’s Oral Order (D.I. 273) ordering the

 government to “inform the Court whether it objects to termination by dismissal of the indictment

 as the Defendant proposes.” The defendant’s motion should be denied because there is no binding

 authority which requires dismissal of an indictment after a defendant receives a pardon. The

 indictment was returned by a lawfully constituted grand jury that is an independent agency of the

 court. This Court, as well as ten (10) other Article III judges appointed by six (6) presidents,

 rejected the defendant’s arguments, including that this was a selective prosecution. Because there

 was no defect in the grand jury’s indictment, there is no reason to dismiss it here.

                                             ARGUMENT

        On December 1, 2024, media outlets reported that the President had issued a pardon for

 the defendant. Shortly thereafter, defense counsel filed “Mr. Biden’s Notice of Pardon.” (D.I. 277).

 The defendant did not attach the pardon to its filing. Just prior to this filing, at approximately 1:50

 PM, the Special Counsel received the attached correspondence from the Office of the Pardon

 Attorney, which states, in relevant part:



                                                   1
Case 1:23-cr-00061-MN        Document 274       Filed 12/02/24     Page 2 of 9 PageID #: 5218




        The correspondence describes that the President granted Robert Hunter Biden a full and

 unconditional pardon after completion of sentence. The defendant has not yet been sentenced in

 this matter, let alone served his sentence. This correspondence, as well as the accompanying

 Pardon, are attached as Exhibit A.

        In his filing, defense counsel asserted, without any legal support, that “a Full and

 Unconditional Pardon [] requires dismissal of the Indictment against him,” and further that the

 pardon “requires an automatic dismissal of the Indictment with prejudice.” Notice at 2. Defense

 counsel misrepresents the law. Nothing requires the dismissal of the indictment in this case. In

                                                2
Case 1:23-cr-00061-MN          Document 274       Filed 12/02/24      Page 3 of 9 PageID #: 5219




 United States v. Steven Bannon, the defendant moved to dismiss the indictment pending against

 him after receiving a presidential pardon. The Government took the following position, which this

 opposition is consistent with:

                The Government does not dispute that the pardon, which has been docketed

        by the Court, see Dkt. No. 79, ends the prosecution as to Bannon under Indictment

        20 Cr. 412. However, the Government respectfully submits that there is neither a

        need for an order dismissing the Indictment nor any authority mandating such an

        outcome on these facts. Instead, the Government submits that the Court can and

        should direct the Clerk of Court to terminate Bannon as a defendant in this case and

        have the docket sheet reflect the pardon as the disposition of his charges. If the

        Court is inclined to dismiss the Indictment as to Bannon, the Government

        respectfully submits that any order of dismissal should conform to the language and

        scope of the pardon.

                While—as Bannon’s motion itself notes—courts have not acted uniformly

        in ending a case against a pardoned defendant, there is no question that the Court

        may simply terminate Bannon from the case based on the docketed pardon. See,

        e.g., United States v. Urlacher, No. 20 Cr. 111 (N.D. Ill. Feb. 8, 2021) (Dkt. No.

        142) (terminating all motions and pending charges as to a defendant pardoned prior

        to being convicted); United States v. Golestaneh, No. 13 Cr. 160 (D. Vt. Jan. 19,

        2016) (Dkt. No. 42) (docketing a presidential pardon for a defendant who had not

        been sentenced and notating on the docket sheet that the case against the defendant

        had been “terminated” and charges were disposed of by “a full pardon granted”).

        Moreover, where courts have entered orders dismissing the indictment, including

        in many of the cases cited by Bannon, those orders have generally been entered

        with the consent of the Government and in cases involving single defendants. Those

        facts are obviously not present here, and to the contrary, the charges and forfeiture


                                                 3
Case 1:23-cr-00061-MN         Document 274        Filed 12/02/24      Page 4 of 9 PageID #: 5220




        allegations remain pending as to the three co-defendants. Notwithstanding

        Bannon’s stated preference for an order of dismissal, his motion neither cites to any

        controlling authority requiring such a dismissal nor does he indicate why simply

        terminating him from the case would be insufficient.

 United States v. Bannon, No 20 Cr. 412 (AT), D.I. 106. Here, the government does not consent to

 dismissal.

        The court in Bannon found that, “[n]either the Government nor Bannon has cited authority

 binding on this Court as to whether the correct course is to ‘administratively terminate’ Bannon,

 or to dismiss the Indictment against him.” Id. at D.I. 117. The court further noted that “the

 majority of courts, when faced with such a decision, have chosen to dismiss an indictment …”

 and, in that case, the court chose to do so. In addition to citing decisions where a court chose to

 do so, the Bannon court also cited United States v. Urlacher, No. 20 Cr. 11-8 (N.D. Ill. Feb. 8,

 2021) where the indictment was not dismissed. In that case, the court issued an order that said the

 following:



        ORDER as to Casey Urlacher: In light of the Grant of Clemency filed on February

        5, 2021 (docket [139]) the Clerk is directed to: 1) terminate all motions as to Casey

        Urlacher; and 2) administratively terminate all pending charges against Casey

        Urlacher as January 19, 2021 pursuant to the Grant of Clemency.




                                                 4
Case 1:23-cr-00061-MN          Document 274        Filed 12/02/24      Page 5 of 9 PageID #: 5221




 United States v. Urlacher, No. 20 Cr. 11-8 (N.D. Ill. Feb. 8, 2021), D.I. 142. In United

 States v. Cartwright, a case like the present one where the defendant was pardoned after

 pleading guilty but before sentencing, the court issued a similar order that said:




 United States v. Cartwright, No. 16-188, (D.D.C. Jan. 25, 2017), D.I. 22. In neither case was the

 indictment subsequently dismissed.

        The logic for why courts do not dismiss indictments following a grant of clemency is

 sound. The D.C. Circuit’s decision in United States v. Flynn, explains:

        As Chief Justice Marshall wrote, “[a] pardon is an act of grace, proceeding from

        the power entrusted with the execution of the laws, which exempts the individual

        on whom it is bestowed, from the punishment the law inflicts for a crime he has

        committed.” United States v. Wilson, 32 U.S. 150, 150, 7 Pet. 150, 8 L.Ed. 640

        (1833) (emphasis added). In other words, “a pardon does not blot out guilt or

        expunge a judgment of conviction.” In re North, 62 F.3d at 1437. Furthermore, a

        pardon cannot “erase a judgment of conviction, or its underlying legal and factual

        findings.” Arpaio, 2017 WL 4839072, at *1 (citing United States v. Crowell, 374

        F.3d 790, 794 (9th Cir. 2004)); but see Schaffer, 240 F.3d at 38 (vacating “all

        opinions, judgments, and verdicts of this court and the District Court” where

                                                  5
Case 1:23-cr-00061-MN         Document 274         Filed 12/02/24       Page 6 of 9 PageID #: 5222




        “[f]inality was never reached on the legal question of [the defendant's] guilt”

        (emphasis added)).

 507 F. Supp. 3d 116, 136 (D.D.C. 2020). Specifically, as to whether a pardon must, as the

 defendant wrongly claims, result in the dismissal of an indictment, the D.C. Circuit’s decision in

 In re North, explains why it does not:

                An indictment establishes probable cause that the accused has committed a

        crime. Guilt can be established only by a much higher standard, proof beyond a

        reasonable doubt.

                Because a pardon does not blot out guilt or expunge a judgment of

        conviction, one can conclude that a pardon does not blot out probable cause of guilt

        or expunge an indictment.

 62 F.3d 1434, 1437 (D.C. Cir. 1994). In re North is particularly instructive. In that case a

 defendant, Clair E. George, former CIA Deputy Director for Operations, requested reimbursement

 for attorney fees she had incurred as a result of the Iran/Contra investigation conducted by

 Independent Counsel Lawrence E. Walsh. Id. at 1434. The Ethics in Government Act, which

 created the Independent Counsel, authorized the award of attorney’s fees but only if an individual

 were not indicted. After being indicted, George received a pardon from President George H.W.

 Bush and applied for a reimbursement of attorneys fees on that basis. In rejecting her claim, the

 D.C. Circuit held that “The pardon does not blot out guilt or expunge the indictment. Though

 pardoned, George’s disability—the fact of his indictment—remains, preventing the court from

 awarding him attorneys’ fees.” Id. at 1438. If a pardon did not “expunge the indictment” in that

 case, it should not do so here. The cases cited by the defendant in his filing do not explain why an

 indictment should be dismissed following an act of clemency when the act of clemency terminates

 the criminal case.

        More broadly, there is no defect in the indictment or in the process that led to its return that

 justifies dismissing it. First, it was returned by a lawfully constituted grand jury that is an

 independent agency of the court. United States v. Williams, 504 U.S. 36, 48 (1992) (“The grand

                                                   6
Case 1:23-cr-00061-MN            Document 274      Filed 12/02/24       Page 7 of 9 PageID #: 5223




 jury's functional independence from the Judicial Branch is evident both in the scope of its power

 to investigate criminal wrongdoing and in the manner in which that power is exercised.”). Second,

 the defendant filed four (4) motions to dismiss the indictment, making every conceivable argument

 for why it should be dismissed, all of which were determined to be meritless. Of note, the

 defendant argued that the indictment was a product of vindictive and selective prosecution. D.I.

 63. This Court rejected those claims and exposed the nonsensical nature of the defendant’s

 selective prosecution claims:

        To the extent that Defendant’s claim that he is being selectively prosecuted rests

        solely on him being the son of the sitting President, that claim is belied by the facts.

        The Executive Branch that charged Defendant is headed by that sitting President –

        Defendant’s father. The Attorney General heading the DOJ was appointed by and

        reports to Defendant’s father. And that Attorney General appointed the Special

        Counsel who made the challenged charging decision in this case – while

        Defendant’s father was still the sitting President. Defendant’s claim is effectively

        that his own father targeted him for being his son, a claim that is nonsensical under

        the facts here. Regardless of whether Congressional Republicans attempted to

        influence the Executive Branch, there is no evidence that they were successful in

        doing so and, in any event, the Executive Branch prosecuting Defendant was at all

        relevant times (and still is) headed by Defendant’s father.

 D.I. 99 at 8. The Court similarly found his vindictive prosecution claims unmoored from any

 evidence or even a coherent theory as to vindictiveness:

         Yet, as was the case with selective prosecution, the relevant point in time is when

        the prosecutor decided to no longer pursue pretrial diversion and instead indict

        Defendant. Whether former administration officials harbored actual animus

        towards Defendant at some point in the past is therefore irrelevant. This is

        especially true where, as here, the Court has been given no evidence or indication

        that any of these individuals (whether filled with animus or not) have successfully

                                                   7
Case 1:23-cr-00061-MN          Document 274        Filed 12/02/24      Page 8 of 9 PageID #: 5224




         influenced Special Counsel Weiss or his team in the decision to indict Defendant

         in this case. At best, Defendant has generically alleged that individuals from the

         prior administration were or are targeting him (or his father) and therefore his

         prosecution here must be vindictive. The problem with this argument is that the

         charging decision at issue was made during this administration – by Special

         Counsel Weiss – at a time when the head of the Executive Branch prosecuting

         Defendant is Defendant’s father. Defendant has offered nothing credible to support

         a finding that anyone who played a role in the decision to abandon pretrial diversion

         and move forward with indictment here harbored any animus towards Defendant.

         Any claim of vindictive prosecution based on actual vindictiveness must fail.

 Id. at 17.

         In the Central District of California, the defendant made the same baseless accusations and

 that court also rejected the defendant’s claims, finding that “[a]s the Court stated at the hearing,

 Defendant filed his motion without any evidence.” United States v. Hunter Biden, Cr. No. 23-599-

 MCS (C.D.Cal. April 1, 2024). And there has never been any evidence of vindictive or selective

 prosecution in this case.

         The defendant appealed the denial of his motions in this case to the Third Circuit and his

 denial of his motions in the Central District of California case to the Ninth Circuit. See United

 States v. Robert Hunter Biden, 24-1703, Doc. No. 17-1 (3rd Cir., May 9, 2024) (order dismissing

 appeal by Judge Patty Shwartz, Judge Cindy Chung, and Judge D. Brooks Smith); United States

 v. Robert Hunter Biden, 24-1938, Doc. No. 16-2 (3rd Cir., May 28, 2024) (order dismissing appeal

 by Judge Thomas M. Hardiman, Judge Cheryl Krause, and Judge Arianna Freeman); United States

 v. Robert Hunter Biden, 24-2333, Doc. No 16.1 (9th Cir., May 14, 2024) (order dismissing appeal

 by Judge William Canby, Judge Atsushi Tashima, and Judge Lucy Koh). In total, eleven (11)

 different Article III judges appointed by six (6) different presidents, including his father,

 considered and rejected the defendant’s claims, including his claims for selective and vindictive

 prosecution.

                                                  8
Case 1:23-cr-00061-MN           Document 274       Filed 12/02/24     Page 9 of 9 PageID #: 5225




           The defendant was found guilty on all counts by a jury of 12 Delawareans following a six-

 day trial in June 2024. According to the declaration filed on his behalf, the defendant has

 acknowledged his guilt in accepting the act of clemency. D.I. 272-2; see Burdick v. United States,

 236 U.S. 79, 94 (1915) (“[A pardon] carries an imputation of guilt; acceptance a confession of

 it.”).

           The Government does not challenge that the defendant has been the recipient of an act of

 mercy. That does not mean the grand jury’s decision to charge him, based on a finding of probable

 cause, should be wiped away as if it never occurred. It also does not mean that his charges should

 be wiped away because the defendant falsely claimed that the charges were the result of some

 improper motive or selective prosecution. No court has agreed with the defendant on these baseless

 claims, and his request to dismiss the indictment finds no support in the law.

                                           CONCLUSION

           For the foregoing reasons, the defendant’s motion to dismiss the indictment should be

 denied.

                                     Respectfully submitted,

                                     DAVID C. WEISS
                                     Special Counsel
                                     United States Department of Justice

                              By:

                                     ____________________________________
                                     Derek E. Hines
                                     Senior Assistant Special Counsel
                                     Leo J. Wise
                                     Principal Senior Assistant Special Counsel
                                     United States Department of Justice
                                     950 Pennsylvania Avenue NW
                                     Washington, D.C. 20530
                                     771-217-6091
 Dated: December 2, 2024




                                                   9
